      CASE 0:05-cv-00038-PJS-RLE          Doc. 466     Filed 07/06/09    Page 1 of 4



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

 MICHAEL BENNETT, COLLEEN                            Case No. 05-CV-0038 (PJS/RLE)
 BENNETT, RAYMOND A. BROGGER,
 PHYLLIS BROGGER, MICHAEL G.
 NEWAGO, SHERRI L. NEWAGO,
 DONALD FINN, LOIS NORTHBIRD,
 SHARON BURNETTE, GARY L.
 CHASTEK, LOUIS E. FOURNIER,
 GLORIA J. FOURNIER, WAYNE D.
 FRAZER, ELAINE BOHN GANGELHOFF,
 GARY G. GEHRKE, DELORES HOUGH,
 KARL HUMPHREY, LORI HUMPHREY,
 IVA LADUKE, DUANE A. MULLER,                         ORDER DENYING MOTION
 WANDA MULLER, MARIA REA, JANE                          FOR CERTIFICATION
 REA, TODD M. STAPLES, BLANCA                          UNDER 28 U.S.C. § 1292(b)
 DURAN, JOHN R. UTLEY, RUTH A.M.
 WITTNER, and MICHELLE WORCESTER,

                      Plaintiffs,

 v.

 INTERNATIONAL PAPER COMPANY and
 BURLINGTON NORTHERN AND
 SANTA FE RAILWAY COMPANY,

                      Defendants.

       Sharon L. Van Dyck, VAN DYCK LAW FIRM; James P. Carey and Shannon C. Keil,
       SIEBEN, GROSE, VON HOLTUM & CAREY, LTD; Gary M. Hazelton, HAZELTON
       LAW FIRM PLLC; and William J. Delmore, KELSCH KELSCH RUFF & KRANDA,
       for plaintiffs.

       Patrick W. Dennis, GIBSON DUNN & CRUTCHER LLP; Joseph W. Anthony, Cheryl
       A. Stanton, and Courtland C. Merrill, ANTHONY OSTLUND BAER & LOUWAGIE
       P.A.; and Rick R. Rothman and Tiffany R. Hedgpeth, BINGHAM MCCUTCHEN LLP,
       for defendant International Paper Company.

       Timothy R. Thornton, Timothy G. Gelinske, and Matthew R. Brodin, BRIGGS &
       MORGAN, P.A., for defendant Burlington Northern and Santa Fe Railway Company.

       Defendant International Paper Company (“IP”) operated a wood-treatment plant in Cass

Lake, Minnesota, on land leased from defendant Burlington Northern and Santa Fe Railway
       CASE 0:05-cv-00038-PJS-RLE             Doc. 466      Filed 07/06/09       Page 2 of 4



Company (“BNSF”). Plaintiffs own property near the site of the former wood-treatment plant.

Plaintiffs bring claims against IP and BNSF, alleging that their property was contaminated by

hazardous waste released by IP during its operation of the plant.

       Defendants recently moved for summary judgment, arguing that all of plaintiffs’ claims

are barred by a six-year statute of limitations. The Court denied defendants’ motion, finding that

whether plaintiffs’ claims accrued more than six years before they filed suit is a factual issue that

must be resolved by a jury. Defendants now ask the Court to certify its order denying summary

judgment for an immediate interlocutory appeal under 28 U.S.C. § 1292(b).

       Section 1292(b) states, in relevant part:

               When a district judge, in making in a civil action an order not
               otherwise appealable under this section, shall be of the opinion that
               such order involves a controlling question of law as to which there
               is substantial ground for difference of opinion and that an
               immediate appeal from the order may materially advance the
               ultimate termination of the litigation, he shall so state in writing in
               such order. The Court of Appeals which would have jurisdiction
               of an appeal of such action may thereupon, in its discretion, permit
               an appeal to be taken from such order, if application is made to it
               within ten days after the entry of the order[.]

Section 1292(b) thus establishes three criteria for certification: (1) the order must involve a

controlling question of law; (2) there must be a substantial ground for difference of opinion on

that question of law; and (3) certification would materially advance the ultimate termination of

the litigation. See Union County, Iowa v. Piper Jaffray & Co., 525 F.3d 643, 646 (8th Cir.

2008). Interlocutory appeals are discouraged and should be granted only sparingly and in

extraordinary cases. Id.

       The Court’s order denying summary judgment does not meet the criteria necessary for

certifying an appeal under § 1292(b). Most obviously, the order does not involve a controlling



                                                   -2-
       CASE 0:05-cv-00038-PJS-RLE              Doc. 466      Filed 07/06/09      Page 3 of 4



question of law on which there is a substantial ground for difference of opinion. To the contrary,

as the Court described in its order, the parties agreed on the controlling legal standards:

               The parties now agree that, pursuant to 42 U.S.C. § 9658 . . . , the
               “discovery rule” determines the date on which plaintiffs’ causes of
               action accrued. The parties agree that plaintiffs’ claims accrued,
               and the six-year statute of limitations began to run, when plaintiffs
               knew, or reasonably should have discovered, that they had suffered
               a legally compensable injury as a result of their land being
               contaminated by the release of hazardous substances at the Site.

Docket No. 449 at 7. Thus, “the sole question before the Court [was] whether a reasonable jury

could find that plaintiffs lacked actual or imputed knowledge that their property was

contaminated until on or after January 6, 1999 (for the original plaintiffs) or June 18, 2001 (for

the additional plaintiffs).” Docket No. 449 at 10.

       Obviously, then, the dispute between the parties is not a dispute about the applicable

legal standards; instead, it is a prosaic dispute about whether the plaintiffs have submitted

evidence sufficient to permit a jury to find in their favor under agreed-upon legal standards. This

is plainly not the kind of question appropriate for § 1292(b) certification. If it were,

interlocutory appeals, instead of being “extraordinary,” would be appropriate in the vast majority

of cases in which a court denies summary judgment.1

       Defendants’ motion for certification is therefore denied.




       1
        As an aside, the Court notes that the Eighth Circuit recently reversed a grant of summary
judgment for defendants in a similar case. See Harry Stephens Farms, Inc. v. Wormald
Americas, Inc., No. 07-3547, 2009 WL 1706629, at *1 (8th Cir. June 19, 2009) (holding that,
despite plaintiffs’ longstanding “worry” and “concern” about possible contamination of their
property, “a genuine issue remains as to whether plaintiffs knew or reasonably should have
known before June 9, 2003, that their property had suffered a remediable injury as a result of
defendants’ actions on neighboring property”).

                                                 -3-
      CASE 0:05-cv-00038-PJS-RLE            Doc. 466     Filed 07/06/09      Page 4 of 4



                                           ORDER

      Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED that defendants’ motion for certification under 28 U.S.C. § 1292(b)

[Docket Nos. 459, 463] is DENIED.

 Dated: July 6 , 2009                            s/Patrick J. Schiltz
                                                 Patrick J. Schiltz
                                                 United States District Judge




                                              -4-
